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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore

  Civil Action No. 1:18-cv-03098-RM-NRN

  SONDRA BEATTIE, individually and on behalf of all other similarly situated individuals, and
  FRANCIS HOUSTON, JR., individually and on behalf of all other similarly situated individuals,

         Plaintiffs,

  v.

  TTEC HEALTHCARE SOLUTIONS, INC., and
  TTEC HOLDINGS, INC.,

        Defendants.
  ______________________________________________________________________________

                                     ORDER
  ______________________________________________________________________________

         This matter is before the Court on Plaintiffs’ motion for conditional certification (ECF

  No. 54), Defendants’ motion to stay (ECF No. 68), and Defendants’ motion to compel arbitration

  (ECF No. 71). For the reasons given below, the Court grants the motion for conditional

  certification, denies as moot the motion to stay, and grants in part and denies in part without

  prejudice the motion to compel arbitration.

  I.     BACKGROUND

         Plaintiffs Beattie and Houston filed this lawsuit as a collective and class action, alleging,

  among other things, violations of the Fair Labor Standards Act (“FLSA”). Numerous other

  Plaintiffs have opted in to the lawsuit by filing consents to join (ECF Nos. 5, 25, 32-34, 38-50,

  56, 58, 61-63, 65, 67, 69, 73-76, 78, 80, 81). On May 21, 2019, this Court granted Defendants’

  motion to compel arbitration with respect to Plaintiffs Beattie and Houston, while allowing the
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  case to proceed with respect to the other Plaintiffs. (ECF No. 66.) Plaintiffs’ motion for

  conditional certification (ECF No. 54) was filed before that order. After the order, Defendants

  filed a motion to stay briefing on the issue of conditional certification (ECF No. 68). There was

  no ruling on the motion to stay, and Defendants later filed a response to the motion for

  conditional certification (ECF No. 72). Plaintiffs filed a response to Defendants motion to stay

  (ECF No. 70) and a reply (ECF No. 77). In addition, Defendants filed a motion to compel

  arbitration with respect to seventy-eight opt-in Plaintiffs (ECF No. 71), and Plaintiffs filed a

  response (ECF No. 79). The Court now addresses these motions in turn.

  II.    ANALYSIS

         A.      Motion for Conditional Certification

         Plaintiffs seeks conditional certification of a proposed class consisting of “[a]ll current

  and former Customer Service Representatives who worked for Defendants at any of their call

  center facilities at any time on or after December 3, 2015 up through and including judgment.”

  (ECF No. 54 at 1.) Proposed notice and consent forms are attached to their motion. (ECF

  No. 54-2.)

         The Court applies a two-stage process to determine whether putative collective action

  members are similarly situated for purposes of 29 U.S.C. § 216(b). See Thiessen v. Gen. Elec.

  Capital Corp., 267 F.3d 1095, 1105 (10th Cir. 2001). At this initial “notice” stage, Plaintiffs

  need only provide “substantial allegations that the putative class members were together the

  victims of a single decision, policy, or plan.” Id. at 1102 (quotation omitted). The Court has

  “wide discretion to notify potential opt-in plaintiffs. Hoffman-La Roche Inc. v. Sperling,

  493 U.S. 165, 169 (1989).


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         Defendants do not argue that the opt-in Plaintiffs are not similarly situated, and the

  Court finds Plaintiffs have made substantial allegations that the putative class members were

  victims of a single decision, policy, or plan. Defendants’ sole argument against conditional

  certification is that the opt-in Plaintiffs’ arbitration agreements mandate dismissal of Plaintiffs’

  motion. But, as this Court recently concluded in another case, “[t]he fact that claims not

  presently before the Court may be ordered to arbitration at a later date does not require that

  notice be withheld from potential members of the collective under the FLSA’s long-established

  procedures for doing so, merely because some members signed an arbitration agreement.” Judd

  v. Keypoint Gov’t Sols., Inc., No. 18-cv-00327-RM-STV, 2018 WL 7142193, *6 (D. Colo.

  Dec. 4, 2018). The same reasoning applies here. The fact that some Plaintiffs will be compelled

  to arbitrate their claims individually does establish grounds for denying them notice. See id.

  at *5 (“Neither the FLSA nor the Tenth Circuit require that notice be withheld from potential

  class members merely because they signed an arbitration agreement.”).

         Defendants also object that if conditional certification is granted, notice should be sent

  only to employees who worked for them in the three-year period preceding the Court’s order

  instead of the three-year period preceding the filing of the complaint. In response, Plaintiffs

  argue that this case is a candidate for equitable tolling because of briefing on the arbitration

  issue. The Court agrees with Defendants on this point. In the Tenth Circuit, equitable tolling is

  granted sparingly, and Plaintiff has not shown that Defendants engaged in “active deception” by

  seeking to compel arbitration in this case. Impact Energy Res., LLC v. Salazar, 693 F.3d 1239,

  1246 (10th Cir. 2012). Indeed, with today’s order, they have succeeded in compelling

  fifty-seven Plaintiffs to arbitrate their claims. Therefore, Defendants are required to provide


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  contact information for only those employees who worked for them as customer service

  representatives at any time from July 3, 2016, to July 3, 2019. 1

          Defendants’ additional objections to the form and method of notice lack merit. The

  Court sees no reason why Plaintiffs should be limited to providing notice by regular mail.

  Defendants are directed to disclose telephone numbers and e-mail addresses of each putative

  collective action member, and Plaintiffs may provide notice by e-mail and text message as well

  as by regular mail. Defendants cite no authority in support of their contentions that Plaintiffs

  should be prohibited from communicating with potential collective action members, through its

  website or by other means, that the consent form is overbroad, or that the reference to “unpaid

  overtime pay” is improper. And because the case is being litigated on a contingency basis, the

  Court also rejects Defendants’ argument that potential plaintiffs need to be made aware that there

  is a possibility that they may be liable for Defendants’ costs of litigation. Therefore, the Court

  approves Plaintiffs’ proposed notice.

          B.       Motion to Stay

          This order moots Defendants’ motion to stay briefing on Plaintiffs’ motion for

  conditional certification.

          C.       Motion to Compel

          Defendants seek to compel seventy-eight opt-in Plaintiffs to arbitrate their claims. As

  they concede, however, their current records indicate that fifty-five of those Plaintiffs have

  executed arbitration agreements. Plaintiffs concede that Defendants’ proffered evidence


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    Because numerous Plaintiffs have already opted in to the lawsuit, the Court does not require the language defining
  the proposed class to be modified, as that would create unnecessary complications in the case. This does not change
  the fact that, absent equitable tolling, each individual’s FLSA claims accrue from the date that individual files a
  consent to become a party plaintiff.

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  regarding the fifty-five opt-in Plaintiffs is substantially similar to the evidence that this Court

  found sufficient to compel Plaintiffs Beattie and Houston to arbitrate their claims. Therefore, the

  Court grants in part Defendants’ motion to compel as it pertains to these fifty-five Plaintiffs for

  the same reasons stated in the May 21, 2019, order.

         With respect to the remaining opt-in Plaintiffs, Defendants concede that they have no

  records of any arbitration agreements. In the absence of any evidence that these Plaintiffs agreed

  to arbitrate, the Court will not compel them to do so. Accordingly, the Court denies without

  prejudice Defendants’ motion to compel as it pertains to the remaining opt-in Plaintiffs.

  IV.    CONCLUSION

         For the reasons stated above, the Court

         (1)     GRANTS Plaintiffs’ motion for conditional certification (ECF No. 54) as

                 provided herein;

         (2)     DENIES AS MOOT Defendants’ motion to stay (ECF No. 68);

         (3)     GRANTS IN PART and DENIES IN PART WITHOUT PREJUDICE

                 Defendants’ motion to compel (ECF No. 71) as provided herein;

         (4)     CONDITIONALLY CERTIFIES the following opt-in collective action class:

                 All current and former Customer Service Representatives who worked for

                 Defendants at any of their call center facilities at any time on or after

                 December 3, 2015, up through and including judgment; and

         (5)     ORDERS that Defendants shall have fourteen days from the date of this order to

                 provide Plaintiffs, through counsel, with a list of all employees who worked as

                 customer service representatives at any time from July 3, 2016, to July 3, 2019,


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              with their dates of employment, last known addresses, phone numbers, and e-mail

              addresses in an agreed upon format.

       DATED this 3rd day of July, 2019.

                                                    BY THE COURT:



                                                    ____________________________________
                                                    RAYMOND P. MOORE
                                                    United States District Judge




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